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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


UNITED STATES OF AMERICA

vs.                                         CASE NO: 8:93-cr-196-T-EAK-MAP

LUCAS LOPEZ
______________________________/


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
               18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

       Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C.

§ 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

§1B1.10(d) (2014). Docs.449 and 458. The United States does not oppose a reduction. Doc.

458. The parties stipulate that he is eligible for a reduction because Amendment 782 reduces

the guideline range applicable to him, see USSG §1B1.10(a)(1). Doc. 458. The Court agrees

that he is eligible for a reduction and adopts the amended guideline calculations in the

parties’ stipulation. Doc. 458.

       Having reviewed the facts in both the original presentence investigation report and the

May 26, 2015 memorandum from the United States Probation Office in light of the factors

in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger

posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a

reduction of 125 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of

the practical difficulties of a possible release date on Sunday, November 1, 2015, the

effective date of this order is November 2, 2015.

       Thus:

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      1.     The Court grants the defendant’s motions, Docs. 449 and 458.

      2.     The Court reduces the defendant’s prison term from 360 to 235 months or

             time served.

      3.     The effective date of this order is November 2, 2015.

      DONE and ORDERED in Chambers, Tampa, Florida on July 24, 2015.




      Copies to:

      Counsel of Record
      Magistrate Judge
      United States Marshals Service
      United States Probation Office
      United States Pretrial Services




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